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CRIMINAL PROCEEDINGS - Sentencing

      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge B. Lynn Winmill                 Date: August 1, 2019
Case No. 4:19-cr-21                   Deputy Clerk: Jamie Bracke
Place: Pocatello                      Reporter: Tammy Hohenleitner
                                      Time: 1:46 - 2:27 p.m.


UNITED STATES OF AMERICA vs ADAM W. HARPER

Counsel for United States – John Shirts
Counsel for Defendant – Craig Durham
Probation – Jessie Thompson-Kelley

(X)   The Court reviewed the case history.
(X)   The Court granted the Government’s oral motion to dismiss
      Count 2 of the Indictment.
(X)   Counsel made sentencing recommendations to the Court.
(X)   Defendant made remarks on his own behalf.
(X)   The Court granted the Government’s motion for 3rd point
      reduction for acceptance of responsibility.
(X)   Offense level 17. Criminal history category III. Guideline
      range 30-37 months.
(X)   The Court adopted the Presentence Report.
(X)   Court addressed 3553(a) factors.

SENTENCE: Defendant is hereby committed to the custody of the
Bureau of Prisons to be imprisoned for a term of 27 months.

The defendant shall pay to the United States a special assessment
of $100, which shall be due immediately.

The Court finds the defendant does not have the ability to pay a
fine, therefore the fine is waived.

While in custody, the defendant shall submit nominal payments of
not less than $25 per quarter pursuant to the Bureau of Prisons'
Inmate Financial Responsibility Program.

During the term of supervised release, the defendant shall submit
nominal monthly payments of 10% of gross income, but not less than
$25 per month, unless further modified by the Court.

Upon release from imprisonment, the defendant shall be placed on
supervised release for a term of 3 years. Within 72 hours of
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release from the custody of the Bureau of Prisons, the defendant
shall report in person to the probation office in the district to
which the defendant is released.

The defendant shall comply with all mandatory, standard, and
special conditions of supervised release as outlined in the
Sentencing Recommendation (Dkt.30).

The Court recommends that the defendant be credited with all time
served in federal custody, that the defendant participate in the
RDAP program, and that the defendant be placed in the facility at
Englewood, CO.

(X)   A Final Order of Forfeiture is forthcoming.

(X)   Defendant advised of penalties for violation of terms and
      conditions of supervised release.

(X)   Right to appeal explained.

(X)   Defendant remanded to the custody of the United States
      Marshals Service.
